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  NOT FOR PUBLICATION
                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

  CYNTHIA NELSON, et al.,               :   CIVIL ACTION NO. 08-5426 (MLC)
                                        :
        Plaintiffs,                     :         MEMORANDUM OPINION
                                        :
        v.                              :
                                        :
  XACTA 3000 INC., et al.,              :
                                        :
        Defendants.                     :
                                        :

  COOPER, District Judge

        Plaintiffs, Cynthia Nelson and Barbara L. Kochamba

  (collectively, “Plaintiffs”), commenced this putative class

  action against defendants, Xacta 3000, Inc. (“Xacta 3000”), and

  Idea Village Products Corp. (“Idea Village”) (collectively,

  “Defendants”), alleging violations of the New Jersey Consumer

  Fraud Act (“NJCFA”), N.J.S.A. § 56:8-1 et seq. (Count I), breach

  of implied warranty (Count II), and unjust enrichment (Count

  III).      (Dkt. entry no. 32, First Am. Class Action Compl. (“Am.

  Compl.”).)      Plaintiffs contend that the Court has subject matter

  jurisdiction under the Class Action Fairness Act, 28 U.S.C. §

  1332(d).      (Am. Compl. at ¶ 11.)

        Idea Village now moves to dismiss the claims asserted

  against it for failure to state a claim upon which relief can be

  granted, pursuant to Federal Rule of Civil Procedure (“Rule”)

  12(b)(6).      (Dkt. entry no. 42, Mot. to Dismiss.)         The Court

  decides the motion on the submissions of the parties, without
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  oral argument, pursuant to Rule 78.        For the reasons stated

  herein, the Court will grant Idea Village’s motion.

                                 BACKGROUND

        The facts giving rise to this action are recited in the

  First Amended Class Action Complaint as follows.            Nelson is a

  citizen of California; Kochamba is a citizen of Wisconsin; Xacta

  3000 and Idea Village are New Jersey corporations with their

  principal places of business in New Jersey.          (Am. Compl. at ¶¶ 6-

  9.)   Xacta 3000 markets a product called “Kinoki Detox Foot Pads”

  (“Kinoki Pads”) and sells the same through its website and using

  television “infomercials.”      (Id. at ¶¶ 1, 6, 8.)        Idea Village is

  a distributor of retail products specializing in products branded

  “As Seen on TV,” and distributes the Kinoki Pads to retail

  stores.   (Id. at ¶ 9.)     Kinoki Pads “purport to provide health

  benefits to consumers who use them (by taping them to the soles

  of their feet overnight), including ‘assisting your body in the

  removal of heavy metals, metabolic wastes, toxins, microscopic

  parasites, mucous, chemicals, and cellulite.’” (Id. at ¶ 1.)

        Nelson alleges that she saw a Kinoki Pads “infomercial” on

  television and was convinced to purchase the product, which she

  did by accessing Xacta 3000’s website, www.buykinoki.com, on

  March 27, 2008.    (Id. at ¶ 6.)    Nelson “used the Kinoki Pads for

  ten to twelve days but, because the Pads’ dark color never turned

  clear, as advertised on the TV infomercial,” she stopped using


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  them.   (Id.)   Nelson seeks to represent a class of similarly

  situated persons that Plaintiffs would define as “All persons who

  purchased Kinoki Pads within the United States, not for resale or

  assignment, from XACTA 3000” (“XACTA 3000 Class”).             (Id. at ¶ 26.)

        Kochamba alleges that she came across a four-by-four foot

  display of Kinoki Pads at a local Wal-Mart store on September 29,

  2008, and was convinced by the display and “packaging

  advertisement” to purchase the product.         (Id. at ¶ 7.)       Kochamba

  used the Kinoki Pads for approximately four days, until she

  noticed that the Kinoki Pads changed color when wet, “in the same

  manner as when she applied the product to her feet at night and

  removed as directed the next morning.”         (Id.)      Plaintiffs allege

  that the Kinoki Pads purchased by Kochamba “were distributed to

  Wal-Mart by Idea Village, with the intent that consumers, such as

  Kochamba, would rely upon the representations made on the

  packaging itself, as well as the advertising campaign

  orchestrated and implemented by XACTA 3000. . . .”             (Id.)

  Kochamba seeks to represent a class Plaintiffs would define as

  “All persons who purchased Kinoki Pads within the United States,

  not for resale or assignment, from a retail store” (“Idea Village

  Class”).   (Id. at ¶ 26.)

        Plaintiffs allege that Xacta 3000 “has marketed Kinoki Pads

  utilizing numerous false and misleading representations and

  statements, including the following:


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        -    Use of Kinoki Pads is the “natural way to assist
             your body in the removal of heavy metals,
             metabolic wastes, toxins, microscopic parasites,
             mucous, chemicals, cellulite and much more;”
        -    Kinoki Pads provide the “one-two punch of powerful
             detox ingredients in conjunction with tourmaline,
             a mineral that generates negative ions, to improve
             your overall health and well-being;”
        -    Kinoki Pads “use all-natural tree extracts and
             negative ions to rid your body of toxins;”
        -    Kinoki Pads “absorb toxins released by the body;”
        -    Kinoki Pads “relieve burdens on the immune
             system;”
        -    Kinoki Pads “assist in the natural cleansing of
             the lymphatic system;”
        -    Kinoki Pads “support normal blood circulation;”
        -    Kinoki Pads “boost your energy level;”
        -    Kinoki Pads “improve your Health and Wellness;”
        -    Use of Kinoki Pads “is the all-natural way to
             collect harmful toxins from your body while you
             sleep . . . ;”
        -    [A]n “independent study” shows that Kinoki™ Detox
             Kinoki Pads eliminate toxins in the body;
        -    “Lab results” prove that Kinoki Pads aid in the
             elimination of toxins;
        -    Kinoki Pads are perfect for “Diabetes – Arthritis
             – Fatigue – High Blood Pressure – Insomnia –
             Weight Loss;” and
        -    Kinoki Pads are “FDA registered.”

  (Id. at ¶ 14.)    Plaintiffs further contend that “[a]ll of these

  representations are false.      In fact, the Kinoki Pads have no

  effect on the removal of toxins from the body, nor do they

  provide the other health benefits promised.”              (Id. at ¶ 15.)

        Plaintiffs would impute Xacta 3000’s representations to Idea

  Village on the basis that “Idea Village’s name appears

  prominently on the product’s packaging, which contains many of

  the same misleading themes and representations made in the

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  advertising campaigns implemented by XACTA 3000” and because Idea

  Village “contracted [with retailers] to place Kinoki Pads in

  highly visible areas of national retail stores in their ‘As Seen

  on TV’ product sections.”      (Id. at ¶ 16.)      However, the Amended

  Complaint does not specify any content allegedly on the product

  packaging.

        Idea Village now moves to dismiss Plaintiffs’ NJCFA, breach

  of implied warranty, and unjust enrichment claims asserted

  against it.    (Dkt. entry no. 42, Mot. to Dismiss.)          Idea Village

  also argues that the Amended Complaint, insofar as it is asserted

  against it, should be dismissed without leave to amend “because

  Plaintiffs fail to allege, and cannot allege, a class that can be

  certified.”    (Dkt. entry no. 42, Def. Br. at 1, 11-12.)

  Plaintiffs oppose Idea Village’s motion.         (Dkt. entry no. 49,

  Pls. Opp’n.)

        After Idea Village and Plaintiffs completed briefing on the

  instant motion to dismiss, Xacta 3000 filed a brief stating that

  it takes no position on the Rule 12(b)(6) issues raised by Idea

  Village.   (Dkt. entry no. 51, Xacta 3000 Resp. at 2.)            Xacta 3000

  further urges that the Court should not entertain Idea Village’s

  argument regarding class certification at this time because no

  motion to certify the class is pending, and the parties have not

  yet completed limited discovery on class certification issues.

  (Id. at 3-4.)


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                                  DISCUSSION

  I.    12(b)(6) Motion to Dismiss Standard

        In addressing a motion to dismiss a complaint under Rule

  12(b)(6), the Court must “accept all factual allegations as true,

  construe the complaint in the light most favorable to the

  plaintiff, and determine, whether any reasonable reading of the

  complaint, the plaintiff may be entitled to relief.”              Phillips v.

  County of Allegheny, 515 F.3d 224, 233 (3d Cir. 2008).              At this

  stage, “a complaint must contain sufficient factual matter,

  accepted as true, to ‘state a claim to relief that is plausible

  on its face.    A claim has facial plausibility when the plaintiff

  pleads factual content that allows the court to draw the

  reasonable inference that the defendant is liable for the

  misconduct alleged.”       Ashcroft v. Iqbal, 129 S.Ct. 1937, 1949

  (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556

  (2007)).    “[W]here the well-pleaded facts do not permit the court

  to infer more than the mere possibility of misconduct, the

  complaint has alleged–but it has not ‘show[n]’–that the ‘pleader

  is entitled to relief.’” Iqbal, 129 S.Ct. at 1950 (quoting Rule

  8(a)(2)).

        Plaintiffs’ NJCFA claim is subject to the heightened

  pleading standards of Rule 9(b), which requires that “[i]n all

  averments of fraud or mistake, the circumstances constituting

  fraud or mistake shall be stated with particularity.”


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  Fed.R.Civ.P. 9(b); see Sheris v. Nissan N. Am., Inc., No. 07-

  2516, 2008 WL 2354908, at *6 (D.N.J. June 3, 2008); Parker v.

  Howmedica Osteonics Corp., No. 07-2400, 2008 WL 141628, at *2

  (D.N.J. Jan. 14, 2008) (“[NJ]CFA claims sounding in fraud are

  subject to the particularity requirements of Federal Rule of

  Civil Procedure 9(b).”) (quotation omitted).               The Amended

  Complaint alleges that Idea Village “undertook . . . unlawful

  actions to deceive consumers. . . . Idea Village also knowingly

  profited from the wrongful acts of Xacta 3000 through a business

  model which capitalized on the advertising and misrepresentations

  of others.”    (Am. Compl. at ¶ 16 (emphasis added).)               Plaintiffs’

  NJCFA claim against Idea Village therefore “sounds in fraud.”

  See Naporano Iron & Metal Co. v. Am. Crane Corp., 79 F.Supp.2d

  494, 510 (D.N.J. 1999).

        “The purpose of Rule 9(b) is to provide notice of the

  precise misconduct with which the defendants are charged and to

  prevent false or unsubstantiated charges.”           Rolo v. City Inv. Co.

  Liquidating Trust, 155 F.3d 644, 658 (3d Cir. 1998) (internal

  quotation and citation omitted).         “To satisfy this standard, the

  plaintiff must plead or allege the date, time, and place of the

  alleged fraud or otherwise inject precision or some measure of

  substantiation into a fraud allegation.”          Frederico v. Home

  Depot, 507 F.3d 188, 200 (3d Cir. 2007).          The allegations also

  must include “who made a misrepresentation to whom and the


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  general content of the misrepresentation.”            Lum v. Bank of Am.,

  361 F.3d 217, 224 (3d Cir. 2004).          If this specific information

  is not readily available, a plaintiff may use “alternative means

  of injecting precision and some measure of substantiation into

  their allegations of fraud.”        In re Rockefeller Ctr. Props. Sec.

  Litig., 311 F.3d 198, 216 (3d Cir. 2002) (quotation omitted).

  II.   Plaintiffs’ New Jersey Consumer Fraud Act Claim

        The NJCFA provides in relevant part:

        The act, use or employment by any person of any
        unconscionable commercial practice, deception, fraud,
        false pretense, false promise, misrepresentation, or
        the knowing, concealment, suppression, or omission of
        any material fact with intent that others rely upon
        such concealment, suppression or omission, in
        connection with the sale or advertisement of any
        merchandise or real estate, or with the subsequent
        performance of such person as aforesaid, whether or not
        any person has in fact been misled, deceived or damaged
        thereby, is declared to be an unlawful practice.

  N.J.S.A. § 56:8-2.     The term “person” as used in the NJCFA

  includes, inter alia, natural persons, partnerships,

  corporations, companies, trusts, business entities and

  associations.    N.J.S.A. § 56:8-1(d).

        To state a NJCFA claim, a plaintiff must allege the

  following elements:        “(1) unlawful conduct by defendant; (2) an

  ascertainable loss by plaintiff[s]; and (3) a causal relationship

  between the unlawful conduct and the ascertainable loss.”

  Bosland v. Warnock Dodge, Inc., 964 A.2d 741, 749 (N.J. 2009).



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        Unlawful practices under the NJCFA fall into three general

  categories:    affirmative acts, knowing omissions, and regulation

  violations.    Frederico, 507 F.3d at 202 (quotation omitted).

  Intent to defraud is not necessary to show unlawful conduct by an

  affirmative act of the defendant, but is an element of unlawful

  practice by knowing omission of the defendant.            See Torres-

  Hernandez v. CVT Prepaid Solutions, Inc., No. 08-1057, 2008 WL

  5381227, at *6 (D.N.J. Dec. 17, 2008).         Plaintiffs plead unlawful

  conduct in the alternative:      “Defendants have engaged in

  deceptive practices in the sale (whether direct or indirect) of

  the Kinoki Pads, including falsely representing the health



  benefits and attributes of the Kinoki Pads, or omitting to tell

  the facts concerning the Kinoki Pads.”         (Am. Compl. at ¶ 40.)

        The Court finds that the allegations in the Amended

  Complaint lack the requisite specificity – who, what, and where –

  to sustain a cause of action under the NJCFA against Idea

  Village.   First, Plaintiffs’ allegations in support of its NJCFA

  claim refer only to “Defendants,” without distinguishing the

  actions or omissions of Xacta 3000 from those of Idea Village.

  (See id. at ¶¶ 40-44.)      Failure to inform each defendant as to

  the specific fraudulent acts alleged against it contravenes the

  pleading requirements of Rule 9(b).        See Hale v. Stryker

  Orthopedics, No. 08-3367, 2009 WL 321579, at *6 (D.N.J. Feb. 9,


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 2009).   Second, the Amended Complaint makes specific allegations

 only as to the content of alleged misrepresentations made by

 Xacta 3000.   (Am. Compl. at ¶ 14.)        With regard to Idea Village,

 Plaintiffs state only that the packaging of the product “promised

 that Kinoki Pads would remove harmful toxins from [Kochamba’s]

 body through her feet and provide other health benefits.”                 (Id.

 at ¶ 7.)   Merely referring to the product’s purported purpose is

 insufficient to withstand a motion to dismiss under the NJCFA.

 See Torres-Hernandez, 2008 WL 5381227, at *6.               Although the

 Amended Complaint refers to the packaging as containing “many of

 the same misleading themes and representations made in the

 advertising campaigns implemented by XACTA 3000,” it fails to

 identify those allegedly “misleading themes and representations.”

 (Am. Compl. at ¶ 16.)       The Amended Complaint similarly fails to

 identify with any specificity the “material facts” Idea Village

 allegedly omitted to disclose.       The only specific allegations as

 to Idea Village are the “where” – a Lake Geneva, Wisconsin Wal-

 Mart store – and the “when” – September 29, 2008.               (Id. at ¶ 7.)

      Insofar as Plaintiffs attempt to impute Xacta 3000’s

 advertising campaign to Idea Village because Idea Village’s “As

 Seen on TV” business model depends on consumers relying on

 “general advertising campaigns implemented by others,” the

 Amended Complaint does not allege that Kochamba ever saw an

 “infomercial” or other advertising campaign for Kinoki Pads.


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 (Id. at ¶ 9.)    Instead, Plaintiffs allege that Kochamba was

 “convinced . . . to make the purchase” based on the packaging

 itself and a highly visible pyramid display at her local Wal-Mart

 store.   (Id. at ¶ 7.)      Thus, the Court will not attribute Xacta

 3000’s alleged specific misrepresentations to Idea Village on the

 basis that Idea Village “knew, or should have known, that the

 representations made regarding the Kinoki Pads were false.”               (Id.

 at ¶ 9.)1

      The only support for Plaintiffs’ allegation that the

 purported purpose and functioning of the Kinoki Pads is

 “absolutely false” appears to be that Kochamba noticed her Kinoki

 Pad change color when it came into contact with water.              (Id. at

 ¶¶ 1, 7.)   This allegation, taken as true, provides no factual

 support for Plaintiffs’ conclusory statements that Idea Village

 engaged in misrepresentations and/or omissions of material fact.

 Rather, Plaintiffs’ allegations are “merely statements of a legal

 conclusion” that the Kinoki Pads do not work as advertised.               See

 Hoffman v. Hampshire Labs, Inc., 963 A.2d 849, 854 (N.J. App.

 Div. 2009) (noting that plaintiff “did not plead specific facts

 that would allow a fact-finder to draw” the conclusion that




 1
   This would also preclude the Court from making a finding of a
 causal nexus between the alleged unlawful practice (here, Idea
 Village’s business model) and any ascertainable loss. See Dewey
 v. Volkswagen AG, 558 F.Supp.2d 505, 526-27 (D.N.J. 2008).


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 distributor of non-prescription erectile dysfunction product made

 false promises regarding that product).

      Because Plaintiffs have not stated a claim of unlawful

 conduct by Idea Village, the Court need not address the second or

 third elements of an NJCFA claim.         Even accepting Plaintiffs’

 allegations of ascertainable loss as true, in the absence of

 unlawful conduct the third element, causation, is lacking.               Count

 I of the Amended Complaint will be dismissed against Idea

 Village.

 III. Plaintiffs’ Breach of Implied Warranty Claim

      Plaintiffs allege that the Kinoki Pads “are not fit for the

 ordinary and intended purpose of removing toxins from the body or

 providing other health benefits,” concluding that Defendants

 breached the implied warranty of merchantability.             (Am. Compl. at

 ¶¶ 49, 52-53.)2    The warranty of merchantability is implied by

 law in every contract for the sale of goods.           In re Toshiba Am.

 HD DVD Mktg. and Sales Practices Litig., No. 08-939, 2009 WL

 2940081, at *16 (D.N.J. Sept. 11, 2009).


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   Idea Village’s brief in support of its motion sets forth the
 legal standard for, and cites a case dealing with, breach of
 implied warranty for a particular purpose. (Def. Br. at 9-10.)
 See Rait v. Sears, Roebuck & Co., No. 08-2461, 2009 WL 2488155
 (D.N.J. Aug. 11, 2009) (dismissing claim for breach of implied
 warranty of fitness for a particular purpose, N.J.S.A. § 12A:2-
 315). However, Count II, styled “Breach of Implied Warranty,”
 indicates that it is predicated on a theory that the Kinoki Pads
 were not fit for their “ordinary and intended purpose,” thus
 putting Defendants in breach of the implied warranties of
 merchantability. (Am. Compl. at 14, ¶¶ 48-53.)

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      New Jersey’s Uniform Commercial Code provides the cause of

 action for breach of the implied warranty of merchantability,

 stating in relevant part:

      (1)   [A] warranty that the goods shall be merchantable
            is implied in a contract for their sale if the
            seller is a merchant with respect to goods of that
            kind. . . .
      (2)   Goods to be merchantable must be at least such as
            . . .
            (c) are fit for the ordinary purposes for which
                  such goods are used; and . . .
            (f) conform to the promises or affirmations of
                  fact made on the container or label if any.

 N.J.S.A. § 12A:2-314(1), (2)(c)&(f).        Thus, in order for the

 implied warranty of merchantability to be breached, the product

 at issue must have been defective or not fit for the ordinary

 purpose for which it was intended.        See Altrionics of Bethlehem,

 Inc. v. Repco, Inc., 957 F.2d 1102, 1105 (3d Cir. 1992).

      The Court notes as an initial matter that Plaintiffs do not

 allege the existence of any contract for the sale of Kinoki Pads

 between Idea Village and Kochamba.        Unlike Xacta 3000, which

 directly sells Kinoki Pads to consumers via its website and

 television “infomercials,” Idea Village distributes Kinoki Pads

 to retail stores for sale to third-party consumers.            Despite the

 language of the statute, however, under New Jersey law, “a seller

 of goods, absent disclaimer, impliedly warrants that its goods

 are merchantable to all foreseeable, subsequent buyers.”

 Paramount Aviation Corp. v. Agusta, 288 F.3d 67, 73 (3d Cir.


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 2002); see also Fashion Novelty Corp. of N.J. v. Cocker Mach. &

 Foundry Co., 331 F.Supp. 960, 965 (D.N.J. 1971).           Because New

 Jersey law permits a remote purchaser in the chain of commerce to

 recover under an implied warranty, the lack of vertical privity

 between Kochamba and Idea Village does not foreclose a cause of

 action for breach of implied warranty.        Paramount Aviation Corp.,

 288 F.3d at 74.

       In support of its contention that the Kinoki Pads are not

 fit for their ordinary purpose of removing toxins from the body

 and providing unidentified “other health benefits,” Plaintiffs

 allege that the Kinoki Pads are “worthless,” “offer no health

 benefits,” and “have no effect on the removal of toxins from the

 body,” contrary to its promised effect.         (Pls. Opp’n at 14; Am.

 Compl. at ¶¶ 1, 9, 15.)

       As discussed above with respect to Count I, allegations of

 this nature are mere “naked assertion[s] devoid of further

 factual enhancement” that will not suffice to survive a motion to

 dismiss.   Iqbal, 129 S.Ct. at 1949 (internal quotation omitted)

 (alteration in original).      Accordingly, Count II of the Amended

 Complaint will be dismissed against Idea Village.

 IV.   Plaintiffs’ Unjust Enrichment Claim

       The Amended Complaint pleads, in the alternative to Counts I

 and II, a claim for unjust enrichment.        (Am. Compl. at 15, ¶ 56.)

 It is presented as a tort-based theory of recovery, in the


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 absence of any claim of an express or implied contract between

 Idea Village and Kochamba.      (Id. at ¶¶ 56-59; see Pls. Opp’n at

 15 (“Plaintiffs do not seek the imposition of a quasi-

 contract.”).)

      New Jersey law does not recognize unjust enrichment as an

 independent tort cause of action.         Torres-Hernandez, 2008 WL

 5381227, at *9.    Rather, under New Jersey law,

      to establish unjust enrichment: a plaintiff must show
      both that defendant received a benefit and that
      retention of that benefit without payment would be
      unjust. The unjust enrichment doctrine requires that
      plaintiff show that it expected remuneration from the
      defendant at the time it performed or conferred a
      benefit on defendant and that the failure of
      remuneration enriched defendant beyond its contractual
      rights.

 Va. Sur. Co. v. Macedo, No. 08-5586, 2009 WL 3230909, at *11

 (D.N.J. Sept. 30, 2009); see also VRG Corp. v. GKN Realty Corp.,

 641 A.2d 519, 526 (N.J. 1994).

      The Amended Complaint makes clear that Kochamba had no

 expectation of remuneration from Idea Village at the time she

 allegedly conferred a benefit on Idea Village by purchasing the

 Kinoki Pads.    Therefore, Plaintiffs have not stated a claim for

 unjust enrichment against Idea Village.          See Cafaro v. HMC, No.

 07-2793, 2008 WL 4224801, at *12 (D.N.J. Sept. 8, 2008).

      A claim of unjust enrichment also requires that the

 plaintiff allege a sufficiently direct relationship with the

 defendant to support the claim.      See Maniscalco v. Brother Int’l

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 Corp. (USA), 627 F.Supp.2d 494, 505-06 (D.N.J. 2009) (dismissing

 unjust enrichment claims brought by purchasers of all-in-one

 printer devices against printer manufacturer, because plaintiffs

 did not allege that they purchased the printers from the

 defendant manufacturer, but rather conceded to have purchased the

 printers from a third-party national retail chain).            Such a

 direct relationship is lacking here.        Plaintiffs allege that

 Kochamba purchased the Kinoki Pads at a Wal-Mart store, not from

 Idea Village.    Thus, Plaintiffs’ unjust enrichment claim against

 Idea Village fails under New Jersey law.         Cooper v. Samsung Elec.

 Am., Inc., No. 07-3853, 2008 WL 4513924, at *10 (D.N.J. Sept. 30,

 2008) (“[A]lthough [plaintiff] alleges that Samsung was unjustly

 enriched through the purchase of the television, there was no

 relationship conferring any direct benefit on Samsung through

 [plaintiff’s] purchase, as the purchase was through a retailer,

 Ultimate Electronics.”).     Count III of the Amended Complaint will

 be dismissed against Idea Village.

                                CONCLUSION

      For the reasons discussed supra, Counts I, II, and III will

 be dismissed without prejudice as against Idea Village.

 Plaintiffs will be given leave to file a Second Amended Complaint

 within thirty days of the entry of the accompanying Order.

      Because no motion for class certification is pending at this

 time, class discovery is not yet complete, and Plaintiffs will be


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 given leave to amend file a Second Amended Complaint, the Court

 declines to address the parties’ arguments regarding the

 feasibility of certification of the proposed “Idea Village Class”

 at this time.     See Clark v. McDonald’s Corp., 213 F.R.D. 198,

 205 n.3 (D.N.J. 2003) (noting that class action allegations

 should be dismissed at the 12(b)(6) stage, prior to a motion for

 class certification, only “in those rare cases where the

 complaint itself demonstrates that the requirements for

 maintaining a class action cannot be met.”).

      The Court will issue an appropriate Order.



                                             s/ Mary L. Cooper
                                           MARY L. COOPER
                                           United States District Judge

 Dated:     November 23, 2009




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